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UNITED STATES DISTRICT COURT
WESTERN DISTRICT oF TENNESSEE 05 JuN 30 ppg 3= 51
WESTERN DIVISION
G.E¥OU.S. §§ . i§l“ l
DEXTER 0. cREEL, JR., * W 0% m MEMP+B
* h
Plaimiff, *
*
v. * Case No. 01-2989 B
*
SHELBY COUNTY GOVERNMENT, *
ET AL_ *
*
*

Defendants.

 

ORDER GRANT]NG PLA]NTIFF’S MOTION FOR ADDITIONAL TIME WITHIN
WHICH TO RESPOND 'I`O THE MOTION TO DISMISS AND/OR lN 'I'HE
ALTERNATIVE FOR SUMMARY JUDGMENT OF DEFENDANT JAMES GLEAVES

 

This matter came on to be heard upon Plainti&"s Motion for Additional 'I`ime Within
Which to Respond to the Motion to Dismiss and/or in the Alternative_"t`ot: Summary Judgment of
Defendant James Gleaves, from which it appears to the Court that for go`od'scause shown, the
Motion of the Plaintiff should be granted and the Plaintiff is allowed-ian additional 30 days Within
which to respond to the Motion of Defendant Gleaves.

IT IS SO ORDERED.

 

Ti'als document entered on the docket shee_t\ c mp\lance
with Ru\e 58 andfor 79(a) FRCP on___z__L§_.§-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
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Honorable J. Breen
US DISTRICT COURT

